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EXHIBIT F

    
 
 

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ALlEGHENY CGUN`W
BUREAU OF CDRRECT!ON$ -

Jal| Healthcare Services

 
   
  
  

 

 

 

   
 

  
  

Name:
Allergies:

DOB:

  

Date/`rlme

   

Does the |nmate have

    

     
  

Does the inmate have medical issues?

   

inmate will contact Med|ca| or Mental Health for any change in status or for any requests.
ls cleared

      

  
  

  

|nmate is NOT cieared_fcr
cleared and the lnterventions

the inmate ls not

 

l'\L/"UU 14

